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                                                                               2020 Sep-29 AM 11:03
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION

MITCHELL MARBURY,             )
                              )
    Plaintiff,                )
                              )
vs.                           )              Case No. 4:18-CV-00925-CLS-JHE
                              )
WARDEN DEWAYNE ESTES, et al., )
                              )
    Defendants.               )

                                     ORDER

      The magistrate judge filed a report and recommendation, recommending that

all claims in this action, “except [for] the Eighth Amendment claims against

defendants Este, Specks, and Graham for failure to protect [plaintiff, Mitchell

Marbury,] from an excessive risk of inmate-on-inmate violence and provide adequate

security,” be dismissed without prejudice pursuant to 28 U.S.C. § 1915A(b)(1) for

failing to state a claim upon which relief can be granted. Doc. no. 18, at 10-11

(alterations supplied). It was further recommended that the remaining claims be

referred to the magistrate judge for additional proceedings. Id.

      Although the magistrate judge advised plaintiff of his right to file specific

written objections within fourteen days, no objections to his report and

recommendation have been received by the court.

      Having carefully reviewed and considered all the materials in the court file,
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including the magistrate’s report and recommendation, the report is hereby

ADOPTED, and his recommendations are ACCEPTED. It is, therefore, ORDERED,

ADJUDGED, and DECREED that all of plaintiff’s claims, except for his Eighth

Amendment claims against defendants Este, Specks, and Graham for failure to protect

him from an excessive risk of inmate-on-inmate violence and provide adequate

security, are DISMISSED WITHOUT PREJUDICE pursuant to 28 U.S.C. §

1915A(b).

      The remaining claims are REFERRED to Magistrate Judge John H. England,

III, for all further proceedings.

      DONE and ORDERED this 29th day of September, 2020.


                                             ______________________________
                                             Senior United States District Judge




                                         2
